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Slip and Falls Verdicts & Settlements                                                                                        Click on case rlamr
 verdii 8
 Settlement      Description                                                                   Case Name
 Disposition

                 Woman s l i on puddle of soda in New York's JFK a'kport
                                                                                               Kaplan v. Delta Airlines lnc.
 $1.000.000      terminal; airport d a i it was an open and obvious danger that                N, York Co., N.Y., Sup.       No. 15083ml
                 other passengers saw 100 feet away

                 Wal-Mart shopper wllo slipped and fell on vomit dairned store had
                                                                                               C,ive v. WaCAlbrt      Inc.
                 notice of the hazard because child threw up in front of the cash              S.D.Texas, No. B03033 (1116104)
                 registers

                 Customer sustained shattered kneecap after slipping on oil from
                                                                                               Trest v. Jo-Ann S,m
 $525,831        broken snow globe; store manager b h ~ e for
                                                          d abandoning watch to                Dallas Co., Texas, Ct. Law, No. CCOi-08726-E
                 help another shopper


 $315,000                                                      '
                                                     imed thaf even thotsgssirleuuak.
                                                                         --lng
                                                                                                                  RIlrasSRc
                                                                                               Monroe Ca..MY.. Sw. Ct., No. 03l2309 (9/23/04)

                 Woman vising her son in the emergency room slipped on puddle                  Allen v. C a r i l m Medical Center
 $445.000        of water near hi bed. breaking her h s t                                      Roanoke City, Va., Cir. Ct.. No. 015269 (3124104)

                 Tenant who s u s t a i i a severe knee injury after faling in elevator
                                                                                               Conelly v.                    Sewices Co.
 $8~3.609        cw-ned that janitor mopped but did not post any warnings about
                                                                                               Broward Co. Fla., cir. Ct., No. 0-76   09 (4161ac
                 the slippery floor

                 Shopper slipped on liquid detergent in aisle, then slipped again              Roland v. L a y k United Super Inc.
                 while trying to get up, K i n g his head on a shelf                           Jadtson Co., Mo., Cir. Ct., No. 02CV-203193 (119.

                 Houseguest dabned she injured knee after falling in patch of mud
                                                                                               Gcebiner v. Wailims
 Defense                     drivewayF                        hdped her did not                Allegheny Co.. Pa., Ct. C.P. No. GW2-45495 (312
                 see any mud
